             Case 4:17-cv-00432-BSM Document 2 Filed 07/05/17 Page 1 of 4


                                                                                             FILED
                                                                                           U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICl.ARMNllAll
                                  IN THE UNITED STATES DISTRICT COURT

                                FOR THE EASTERN DISTRICT OF ARKANSAS

                                            WESTERN DIVISION

ARTHUR CARSON,

PLAINTIFF,

vs.
                                                                        I/: 17~v f..$~-Avn
JANICE TUNE MANAGER EASTVIEW-

TERRACE APT; INDEPENDENT MANAGEMENT SERVICES,

DEFENDANTS.



                           COMPLAINT FOR DECLARATORY/INJUNCTIVE RELIEF

                                           WITH JURY DEMAND                                                    ,

                                                                   f "'s ·35e assir,ed to   Dist"L~'
PRELIMINARY STATEMENT:                                            and to Magistrate Judge       J'~

 Comes now the Plaintiff, Arthur Carson, and brings this Action pursuant to Title VII, 42 U.S.C.-

3601 of the Civil Rights and Fair Housing Act; 15 U.S.C. 1681 "Fair Credit Reporting Act"; 12 U.S.C.-

1701q, sec. 202 "Supportive Housing for the Elderly", and Sec. 504 of the Rehabilitation Act, 29 U.S.C.

701; 28 U.S.C. 1332 "Diversity of Citizenship Statues".



                                                 PARTIES:



1). Plaintiff, Arthur Carson, 6200 Colonel Glenn Rd. #219, Little Rock, AR 72204,(501-2403437- Phone);

2). Defendant, Janice Tune, Manager Eastview Terrace Apartments, 1200 Geyer St. Little Rock, AR
72202;

3). Defendant, Independent Management Services, 14381 North RD./ P.O. Box 584, Fenton, Ml 48430.




                                                    (1)
            Case 4:17-cv-00432-BSM Document 2 Filed 07/05/17 Page 2 of 4




                                           STATEMENT OF CLAIMS:

1). On May 31, 2017, Plaintiff, Hereinafter "Carson", a 63 Year old Disabled Senior, with His Co-

Applicant, Jewellean Moore, applied for Low Income Housing for the Elderly at the Eastview Terrace

Apartments, whom Contracts with HUD, and has More than 100 Units there that are section 8 or other

Sub-programs for subsidized housing with HUD.

 The Manager, Janice Tune, was rude, and would not allow a viewing of the Vacant two bedroom

Apartment applied for, nor was the Manager capable of Communicative skills or choose not to discuss

The process with Carson and His Family. The Defendants whimsical practices, and lack of Communicat-

ion has a disparate impact on Senior Applicants, in addition to the fact no advance written tenant

Selection criteria was given except that a five Year Rental History was required, which Carson and

His Co-applicant met this criteria.

 On June 06, 2017, Carson received via mail, an adverse letter denying the application based on

"A False Utility debt from Arkansas Power & Light", and "Centerpoint Energy", which was claimed

Taken from Carson Credit History. Carson has nothing in His Credit history from Arkansas Power &

Light, this was an inaccurate portrayal.

2). HUD Contractors are required to provide any credit selection criteria in advance, (24 CFR 960.203( c)-

(3). The Defendants failed to provide a brief statement of the reasons for the decision; or allow

Opportunity for an informal Review of the decision, (24 CFR 982.554). Section 8 and its sub programs

Are governed by 42 U.S.C. 1437f.

Carson seeks a declaration that Defendants termination of Elderly supportive Housing violates

Substantive provisions of 24 CFR 982.552 and the due process requirements of 24 CFR 982.555,

And the due process clause of the Fourteenth Amendment of the U.S. Constitution.




                                                    (2)
            Case 4:17-cv-00432-BSM Document 2 Filed 07/05/17 Page 3 of 4




Where the Defendants terminated the Application process for Supportive Housing for Carson,

And Family, whom are Disabled Seniors that otherwise qualify, {12 U.S.C. 170lq, Sec. 202).

Carson's Right under Sec. 202 Housing Entitlement Program were ignored by Defendants, despite

Their Contractual Obligations to HUD.

3). The Defendants did not allow mitigating evidence pertaining to their denial; nor was Carson's

Previous rental History, and timely payments a factor; Carson's ability to perform the obligations

Of the subsidized Housing Program for the Elderly was ignored.

4). On 6/06/2017, via Phone, Carson informed Janice Tune, Manager of the inaccurate Report

Relied of from "Arkansas Power & Light", yet no corrective measures were taken. On 6/07/2017,

A second Appeal were submitted to Independent Management Services, whom failed to conduct

Any hearing or informal conference, or take corrective action to eviscerate the false Utility debt,

Or reconsider the denial based on this false report.

5). The Defendants, Independent Management Services, are in charge of the overall Management of

Eastview Terrace Apartments, and policies, as well as to ensure their compliance with HU D's Regulations

For Low Income Tax Credits. Yet the Defendants refuse to adequately Supervise, and promote the

Dissemination of false data over the Internet to its contractors, and subordinates illegally,(15 U.S.C. -

1681).

 WHEREFORE, PREMISES CONSIDERED, Plaintiff Pray that Declaratory/Injunctive Order be issued

That allows Due Process; Plaintiff Access to Elderly Supportive Housing; Damages of $100,000 from

Each Defendant; Cost of Court, and all else Relief this Court deem Equitable and Just under law.

 (}:At.4. ( ~                                  . Dated this 301
                                                               h   day of June, 2017.

Arthur Carson



 I, Arthur Carson, swear the foregoing statements are true and correct, pursuant to 28 U.S.C. 1746,

 ~~
Arthur Carson
6200 Colonel Glenn Rd# 219
Little Rock AR 72204
(501-2403437)

                                                       (3)
                                          Case 4:17-cv-00432-BSM Document 2 Filed 07/05/17 Page 4 of 4

                       Version 03292017                                     APPLICANT DENIAL LETTER                                             FORM 4.4

                               Date:                    06/05/2017                             Property Name:       Eastview Terrace Apartment
                   Applicant Name: ~A-"-rt"""h""u'-rC~a=r..;::.s.;:..;on~-----­                Street Address:      1 200 Geyer Street
                    Street Address: 6200 Colonel Glenn Road - Apt.                              City, State, Zip    Little Rock, AR 72202
                    City, State, Zip: Little Rock, AR 72204                             Office Phone Number:        501 372-6606
                                                                                                                   --=--=.__:_::'-'....::~:..::...::~~~~~~~-




                  We regret to inform you that your application for an apartment at Eastview Terrace Apartment              has been rejected. We
                  are hereby informing you of certain information pursuant to the Fair Credit Reporting Reform Act. 15 U.S.C. Section 1681, et seq.,
                  as amended by the Consumer Credit Reporting Reform Act of 1996 (Public Law 104-208, the Omnibus Consolidated
                  Appropriations Act for the Fiscal Year 1997, Title ii, Subtitle D, Chapter 1).

                  1.                  We have denied your application based on the following:

                  0                Information contained in a consumer credit report obtained from the consumer credit reporting agency named in
                                   paragraph 2 of this letter.
                  0                A consumer credit report containing insufficient information obtained from the consumer credit reporting agency named
                                   in paragraph 2 of this letter.
                  0                Information received from a person or company other than a consumer credit reporting agency.
                                   Explain: See Below
                  2.               When a credit report is used in making the decision. S~ction 615(a) of the Fair Credit Reporting Act requires us to tell
                                   you where we obtained that report. The consull)er reporting agency that provided the report was:
                  0                CBI/Equifax Credit Information Service, P.O. Box 740241, Atlanta, GA 30374-2041. Phone: 1-800-685-1111.
                                   First American Registry, Inc., Customer Relations, PMB 1200, Rockville, MD, 20852. Phone: 1-888-333-2413.
                                   Experian (TRW) Consumer Assistance, P.O. Box 949, Allen, TX 75002. Phone: 1-888-397-3742
                                   Trans Union Consumer Relations, P.O. Box 390, Springfield, PA 19064. Phone: 1-800-888-4213 (for Mass.) 1-888-858-
                                   8336
             I,}··                 Other D Incomplete Application D Land Lord Verification D Criminal History D False or Misleading Information
                                   D Information Provided has Discrepancies D Failure to Demonstrate Proven Ability to Pay Rent D Character
                                   Reference D Inability to Verify fiertinent lnfo.rm.ation
                                  pedit Guideline~. Co.mm~n~~: 1..:<:' {\-\<\ ()( '' ·~
                                                                                             9   ln~ligible Stud~nt Hol,I ehold u.nder the ~R§Se tion 42 ..Tax )(. (
                                                                                               .: \-\'.'. .. ' U .· \ 'l(~U°'i::..~ ,S.:.\: L '-)U.. 2 ], \-•T { () l,
                                  \\, \t<t\l\'JU ~l.J\.J.-l'i.\'\       ,,q;)\\..     ~\nu,.·-!. l·')':., - G'-"'(J ·<11...St<z.s
                  4.               Pursuant to Section 615 of the Fair Credit Reporting Act. We are notifying you that the above-noted agency only
                                   provided information about your credit history. It took no part in making the decision to reject your rental application, nor
                                   can it explain why H :i decision was made.

                  5.              You have certain rights under federal law, a5 examined in more detail in paragraphs 5 - 7 below. Pursuant to the Fair
                                  Credit Reporting Act, you have the right to obtain a copy of your credit report, dispute its accuracy, and provide a
                                  consumer statement describing your position if you dispute the credit report. If you believe your report is inaccurate or
                                  incomplete, you may call the consumer reporting agency at its toll-free number listed above, or write to it at the listed
                                  address.

                  6.              Pursuant to Section 611 of the Fair Credit Reporting Act, you have the right to obtain a free copy of your consumer report
                                  from tile consumer reporting agency whose name is checked above. You must request the copy within 60 days of the
                                  date you receive this letter. If you dispute any of the information in your report, you have the right to put into your report a
                                  consumer statement of up to 100 words explaining your position on the item under dispute. Trained personnel are
                                  available to help prepare co1k:umer statements.

   . . c1:
•: ("(\ \ \0,/
                        J
                                  You may have additional rights under the credit reporting or consumer protection laws of your state. For further·
                                  information, you can contact yc.•r state or local consumer protection agency or your state attorney general's office.

                                  If you wish to appeal this detem:ination, or request a hearing, please mail your appeal within 14 days of receipt of this
                                  letter to: Application Appeal P.C Box 584 Fenton, Ml 48430 Or at Appeal@imsteam.net
                                  * Please specify the name o the Apartment Community in the appeal.
                  The Fair housing Act prohibits discrt11ination in the sale, rental or financing of housing on the basis of race,
                  color, religion, sex, handicap, familfa .\ status, or national origin. Federal law also prohibits discrimination on
                  the basis of age. Persons with dk abilities have the right to request reasonable accommodations to
                  participate in the informal hearing p ocess. TDD 1-800-567-5857. Our Section 504 Coordinator is Michael
                  Rigdon. Attachments: Notice of Occu· 1ancy Rights Under VAWA and HUD VAWA Certification.
                                                                               '
                                  1

                 If. in. ce. rE.· y,
            -.·,,J"
       (
        I
                  c/i vie
              { Site
              '
                            Mc:       1ager
                                              (\   /\j

                                                                                      b                 Equal Housing Opportunity
                                                                                                                                                   Qr
                                                                                                                                                    EQUAL HOUSING
                                                                                                                                                    OPPORTUNITY




                  © 2006-~'.017 Independent Ma 1agement Services
                  SOP_FO ~M 4.4_appdenial
